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                    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH




Plaintiffs:                                                                Affidavit of Service
KATE GRANT, AND KARMANN KASTEN, LLC                                       Case #: 2:23-cv-00936-AMA-CMR

v.

Defendants:
KEVIN LONG; MILLCREEK COMMERCIAL PROPERTIES, LLC;
COLLIERS INTERNATIONAL; BRENT SMITH; SPENCER
TAYLOR; BLAKE MCDOUGAL; and MARY STREET



Received on February 05, 2025 at 11:48 am

I, Patrick Aragon III, being duly sworn, depose and say, I have been duly authorized to make service of the document(s) listed
herein, in the above mentioned case. I am over the age of 18, and am not a party to or otherwise interested in this matter.

On February 06, 2025 at 1:40 pm, I executed service of a SUBPOENA TO A BETTER WAY REALTY, LLC FOR THE
PRODUCTION OF DOCUMENTS; FEDERAL RULE OF CIVIL PROCEDURE 45 (C), (D), (E), AND (G) (EFFECTIVE 12/1/13);
EXHIBIT A on A BETTER WAY REALTY, LLC at 5975 S. Quebec Street, Suite 275, Centennial, Arapahoe County, CO
80111.

By Corporate Service to: JIM FLINT - OWNER


Physical Description:

Race: Caucasian Sex: Male Age: 60's Height: 6' 3" Weight: 190 lbs Hair: Balding Glasses: No




I declare under penalty of perjury under the laws of the State of Colorado that the foregoing is true and correct.
Executed on February 6, 2025 at Englewood, CO




Patrick Aragon III, Process Server




Field Sheet Id: 26908                                                                                        Page 1 of 1
Client Reference:   United States 2:23-cv-00936-AMA-CMR                                            Process ServerSoftware Pro
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 Terry E. Welch (5819)
 Bentley J. Tolk (6665)
 Rodger Burge (8582)
 PARR BROWN GEE & LOVELESS
 101 South 200 East, Suite 700
 Salt Lake City, Utah 84111
 Telephone: (801) 532-7840
 Facsimile: (801) 532-7750
 twelch@parrbrown.com
 btolk@parrbrown.com
 rburge@parrbrown.com

 Attorneys for Kevin Long and Millcreek Commercial
 Properties, LLC


                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF UTAH


  KATE GRANT, AND KARMANN
  KASTEN, LLC,                                        SUBPOENA TO A BETTER WAY
                                                         REALTY, LLC FOR THE
                  Plaintiffs,
                                                      PRODUCTION OF DOCUMENTS
  vs.
                                                      Case No. 2:23-cv-00936-AMA-CMR

  KEVIN LONG; MILLCREEK                               District Judge Ann Marie McIff Allen
  COMMERCIAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; BRENT                        Magistrate Judge Cecilia M. Romero
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,

                  Defendants.


 TO:      A Better Way Realty, LLC
          c/o James M. Flint, Registered Agent
          5975 South Quebec St., Ste. 275
          Centennial, CO 80111

          Under Rule 45 of the Federal Rules of Civil Procedure, you are hereby commanded to

 produce the documents, electronically stored information, and objects described in Exhibit “A”

 hereto, at the at the offices of Parr Brown Gee & Loveless, PC, located at located 101 South 200


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 East, Suite 700, Salt Lake City, Utah 84111, no later than February 24, 2025. Your production of

 documents may occur via email to the attorneys listed above.

          The following provisions of rule 45 of the Federal Rules of Civil Procedure are attached:

 the provisions of Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your

 protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to

 respond to this subpoena and potential consequences of not doing so.

          DATED this 27th day of January, 2025.

                                               PARR BROWN GEE & LOVELESS


                                               By: /s/ Rodger M. Burge
                                                   Terry E. Welch
                                                   Bentley J. Tolk
                                                   Rodger M. Burge

                                                  Attorneys for Defendants Kevin Long, Millcreek
                                                  Commercial Properties, LLC


          The name, address, e-mail address, and telephone number of the attorneys representing

 Kevin Long, who issues or requests this subpoena, are Parr Brown Gee & Loveless, P.C., Attn:

 Rodger M. Burge (rburge@parrbrown.com), 101 South 200 East, Suite 700, Salt Lake City, Utah

 84111.




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                                        PROOF OF SERVICE


          I received this subpoena for A Better Way Realty, LLC on February ___, 2025.

          ☐ I served the subpoena by delivering a copy to the named individual as follows:

 ______________________________________________________________________________

 ________________________________________________________ on ________________; or


          ☐ I returned the subpoena unexecuted because:_________________________________

 _____________________________________________________________________________.


      I have also tendered to the witness the fees for one day’s attendance, in the amount of
 $___________.


         I declare under penalty of perjury that this information is true:

 Date:______________________                     __________________________________________
                                                       Server’s Signature


                                                 __________________________________________
                                                       Printed Name and Title




                                                 __________________________________________
                                                       Server’s Address




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                                            EXHIBIT A

                       REQUEST FOR PRODUCTION OF DOCUMENTS

                                           DEFINITIONS

           1.     “DOCUMENT” means any printed, typewritten or handwritten instrument of

 whatever character including information created and/or stored in electronic form and includes,

 without limitation, correspondence, emails, memoranda, agreements, letters, hand or typewritten

 notes, computer printouts, computer tapes, computer discs, flash drives, thumb drives, microfilm,

 microfiche, tape recordings, photographs, video tapes, motion pictures, plats, diagrams, surveys,

 voicemail, recordings and any other items of similar nature, including originals and non-identical

 copies.

           2.     “COMMUNICATION” is a transmission from one person to another or in the

 presence of another, whether written, oral, telephonic, electronic or by any other means.

           3.     “YOU” shall mean A Better Way Realty, LLC, and its agents, employees,

 members and managers, including, but not limited to, Chuck Roosevelt.

           4.     “PROPERTY” means the real property located at 2975 Showplace Drive,

 Naperville, Illinois 60564.

           5.     “TIC INTEREST” shall mean the 3.021% tenant-in-common interest in the

 PROPERTY acquired by KARMANN KASTEN on or about March 3, 2021.

           6.     “KARMANN KASTEN” shall mean Karmann Kasten, LLC, and its members,

 managers, and agents.

           7.     “GRANT” shall mean the plaintiff in this action, Kate Grant.

           8.     “LONG” means defendant Kevin Long

           9.     “MILLCREEK” shall mean defendant Millcreek Commercial Properties, LLC.



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          10.     “MILLCREEK DEFENDANTS” shall mean LONG and MILLCREEK.

          11.     “TAYLOR” shall mean defendant Spencer Taylor.

          12.     “MCDOUGAL” shall defendant Blake McDougal.

          13.     “RELEVANT PERIOD” means January 1, 2020 through the present.

                              DOCUMENTS TO BE PRODUCED

          For the RELEVANT PERIOD, produce the following:

     1. All agreements between YOU, on the one hand, and GRANT and/or KARMANN
        KASTEN, on the other, including, but not limited to, broker or agent agreements.

     2. All DOCUMENTS or COMMUNICATIONS regarding the PROPERTY.

     3. All DOCUMENTS or COMMUNICATIONS regarding MILLCREEK.

     4. All DOCUMENTS or COMMUNICATIONS regarding or with LONG.

     5. All COMMUNICATIONS with TAYLOR.

     6. All COMMUNICATIONS with MCDOUGAL.

     7. All DOCUMENTS or COMMUNICATIONS regarding GRANT or KARMANN
        KASTEN’s purchase of the TIC INTEREST in the PROPERTY.

     8. All DOCUMENTS or COMMUNICATIONS evidencing or concerning any
        compensation to YOU or BETTER WAY in connection with GRANT or BETTER
        WAY’s purchase of the TIC INTEREST in the property.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 27th day of January 2025, I caused a true and correct copy of

 the foregoing SUBPOENA TO A BETTER WAY REALTY, LLC FOR THE

 PRODUCTION OF DOCUMENTS to be served via email on the following:

          J. Ryan Mitchell
          Christopher A. Langston
          Mika Hillery
          MITCHELL BARLOW & MANSFIELD, P.C.
          rmitchell@mbmlawyers.com
          clangston@mbmlawyers.com
          mhillery@mbmlawyers.com

          Justin T. Toth
          Maria E. Windham
          Nathan L. Jepson
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          Stephen K. Christiansen
          Randall S. Everett
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                                                /s/ Rodger M. Burge




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